                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                                        No. 23-cr-1011-CJW
 vs.
                                             REPORT AND RECOMMENDATION
 RYAN MARSHALL THOMAS
 STREETS,

       Defendant.
                                ____________________


       On July 10, 2023, the above-named defendant appeared before the undersigned
United States Magistrate Judge by consent and, pursuant to Federal Rule of Criminal
Procedure 11, pleaded guilty to Counts 1 and 2 of the Indictment, Distribution of a
Controlled Substance as charged in the Indictment. After cautioning and examining
Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined
that Defendant’s decision to plead guilty was knowing and voluntary, and the offense
charged was supported by an independent basis in fact containing each of the essential
elements of the offense.     I therefore RECOMMEND that the Court ACCEPT
Defendant’s guilty plea and adjudge Defendant guilty.
       At the commencement of the Rule 11 proceeding, I placed Defendant under oath
and explained that if Defendant answered any question falsely, the Government could
prosecute Defendant for perjury or for making a false statement. I also advised Defendant
that in any such prosecution, the Government could use against Defendant any statements
made under oath.




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       I then asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of
education. I also inquired into Defendant’s history of mental illness; use of illegal and/or
prescription drugs; and use of alcohol. From this inquiry, I determined Defendant was
not suffering from any mental disability that would impair Defendant’s ability to make a
knowing, intelligent, and voluntary guilty plea.
       Defendant acknowledged receipt of a copy of the Indictment and further
acknowledged that Defendant had fully discussed the Indictment with Defendant’s
counsel. Defendant acknowledged that Defendant had fully conferred with Defendant’s
counsel prior to deciding to plead guilty and that Defendant was satisfied with counsel’s
services.
       I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including the following:
       1.     The right to assistance of counsel at every stage of the case;

       2.     The right to a speedy, public trial;

       3.     The right to have the case tried by a jury selected from a cross-section of
              the community;

       4.     That Defendant would be presumed innocent, and would be found not guilty
              unless the Government could prove each and every element of the offense
              beyond a reasonable doubt;

       5.     That Defendant would have the right to see and hear all of the Government’s
              witnesses, and Defendant’s attorney would have the right to cross-examine
              any witnesses called by the Government;

       6.     That Defendant would have the right to subpoena witnesses to testify at the
              trial, and if Defendant could not afford to pay the costs of bringing these
              witnesses to court, then the government would pay those costs;




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      7.     That Defendant would have the privilege against self-incrimination: i.e.,
             Defendant could choose to testify at trial, but need not do so; if Defendant
             chose not to testify, then the Court would instruct the jury that it could not
             draw any adverse inference from Defendant’s decision not to testify; and

      8.     That any verdict by the jury would have to be unanimous.

      I explained that if Defendant pleaded guilty, Defendant would be giving up all of
these rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
      • Plea Agreement
      I determined that Defendant was not pleading guilty pursuant to a plea agreement.
      • Elements of Crimes and Factual Basis
      I summarized the charges against Defendant and listed the elements of the crimes
charged. I determined that Defendant understood each and every element of the crimes,
and Defendant’s counsel confirmed that Defendant understood each and every element of
the crimes charged. For the offenses to which Defendant was pleading guilty, I elicited
a full and complete factual basis for all elements of the crimes charged in the Indictment.
Defendant’s attorney indicated that the offenses to which Defendant was pleading guilty
were factually supported.
      • Sentencing
      I explained to Defendant that the district judge will determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to calculate Defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggest it should
be and may be different from what Defendant’s attorney had estimated.
      I explained that a probation officer will prepare a written presentence investigation
report and that Defendant and Defendant’s counsel will have an opportunity to read the




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presentence report before the sentencing hearing and will have the opportunity to object
to the contents of the report. I further explained that Defendant and Defendant’s counsel
will be afforded the opportunity to present evidence and be heard at the sentencing
hearing.
       I also explained that because a mandatory minimum sentence applies, the
sentencing judge cannot sentence Defendant to a sentence below ten years in prison on
each of Counts 1 and 2, which is the statutory mandatory minimum, even if the judge
wants to.
       I advised Defendant of the consequences of the guilty plea, including the
mandatory minimum sentence, the maximum term of imprisonment, the maximum term
of supervised release, and the maximum fine. Specifically, I advised Defendant that
Counts 1 and 2 of the Indictment are each punishable a mandatory minimum sentence
of ten years in prison and the following maximum penalties: (1) not more than life in
prison without the possibility of parole; (2) a period of supervised release following
prison of five years and up to life; (3) a fine of not more than $10,000,000; and (4) a
mandatory special assessment of $100.
       I further advised Defendant that because there are multiple counts, the sentences
could be run consecutively and explained the difference between consecutive and
concurrent sentences. I explained that the sentence imposed on Count 2 could be served
consecutively to the sentence on Count 1. I explained that he faces a possible maximum
sentence of a lifetime in prison, a fine of $20,000,000, $200 in special assessments, and
up to a lifetime of supervised release.
       I explained that the Court will impose conditions of supervised release, and that if
Defendant violates a condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised



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release. I advised Defendant that regardless of the sentence imposed, there would be no
possibility of parole. I advised Defendant of the collateral consequences of pleading
guilty. Defendant acknowledged understanding all of the above consequences.
       I also explained that both the Government and Defendant have the right to appeal
Defendant’s sentence.
       Defendant confirmed that the decision to plead guilty was voluntary; was not the
result of any promises; and was not the result of anyone threatening, forcing, or
pressuring Defendant to plead guilty. I explained that after the district judge accepts
Defendant’s guilty pleas, Defendant will have no right to withdraw the pleas at a later
date, even if the sentence imposed is different from what Defendant anticipated.
       Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pleaded guilty to Counts 1 and 2 of the Indictment.
I find the following with respect to the guilty pleas:
       1.     Defendant’s pleas are voluntary; knowing; not the result of force, threats
              or promise; and Defendant is fully competent.

       2.     Defendant is aware of the minimum and maximum punishment for the
              counts to which Defendant pleaded guilty.

       3.     Defendant knows of and voluntarily waived Defendant’s jury trial rights.

       4.     There is a factual basis for the pleas.

       5.     Defendant is guilty of the crimes to which Defendant pleaded guilty.

       I explained that the Parties have fourteen (14) days from the filing of this Report
and Recommendation to file any objections to my findings, and that if no objections are
made, then the district judge may accept Defendant’s guilty pleas by simply entering a
written order doing so. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). But see, United
States v. Cortez-Hernandez, 673 Fed. App’x 587, 590-91 (8th Cir. 2016) (per curiam)



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(suggesting that a Defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed). The district court
judge will undertake a de novo review of the Report and Recommendation if a written
request for such review is filed within fourteen (14) days after this Report and
Recommendation is filed.
       DONE AND ENTERED at Cedar Rapids, Iowa, this 10th day of July, 2023.




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